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                               Exhibit 95



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Gustafson, Thomas A.                                             September 28, 2007
                                Washington, DC

                                                                                    Page 1
                 UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

   - - - - - - - - - - - - - - - -

   IN RE:    PHARMACEUTICAL           )   MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE         )   CIVIL ACTION

   PRICE LITIGATION                   )   01-CV-12257-PBS

   THIS DOCUMENT RELATES TO           )

   U.S. ex rel. Ven-a-Care of         )   Judge Patti B. Saris

   the Florida Keys, Inc.             )

        v.                            )   Chief Magistrate

   Abbott Laboratories, Inc.,         )   Judge Marianne B.

   No. 06-CV-11337-PBS                )   Bowler

   - - - - - - - - - - - - - - - -

            (captions continue on following pages)



       Videotaped deposition of THOMAS A. GUSTAFSON

                           Volume I




                                Washington, D.C.

                                Friday, September 28, 2007

                                9:00 a.m.




                         Henderson Legal Services
                               202-220-4158

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Gustafson, Thomas A.                                                              September 28, 2007
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                                                 Page 2                                                        Page 4
 1           COMMONWEALTH OF KENTUCKY                        1                  Washington, D.C.
 2         FRANKLIN CIRCUIT COURT - DIV. II                  2                  Friday, September 28, 2007
 3   ------------------                                      3                  9:00 a.m.
 4   COMMONWEALTH OF KENTUCKY,               )               4
 5          Plaintiff,    ) Civil Action No.                 5
 6     vs.              ) 03-CI-1134                         6       Videotaped deposition of THOMAS A. GUSTAFSON,
 7   ABBOTT LABORATORIES, INC., et al., )                    7   called for examination by counsel for Abbott
 8          Defendants.      )                               8   Laboratories in the above-entitled matter, pursuant to
 9   ------------------                                      9   subpoena, taken at the law offices of Jones Day, 51
10                                                          10   Louisiana Avenue, N.W., Washington, D.C. 20001-2113,
11           IN THE COURT OF COMMON PLEAS                   11   before Jonathan Wonnell, a Registered Professional Court
12             FIFTH JUDICIAL CIRCUIT                       12   Reporter and Notary Public of the District of Columbia.
13   ------------------                                     13
14   STATE OF SOUTH CAROLINA, and          ) STATE OF       14
15   HENRY D. McMASTER, in his official ) SOUTH CAROLINA 15
16   capacity as Attorney General for ) COUNTY OF           16
17   the State of South Carolina,   ) RICHLAND              17
18           Plaintiffs,      )                             18
19      vs.                 ) Case No.                      19
20   ABBOTT LABORATORIES, INC.            ) 2006-CP-40-4394 20
21           Defendant.         )                           21
22   ------------------                                     22
                                                 Page 3                                                        Page 5
 1       IN THE CIRCUIT COURT OF THE FIRST CIRCUIT 1                APPEARANCES OF COUNSEL
 2               STATE OF HAWAII                    2
 3   ---------------                                3                On behalf of the United States of America:
 4   STATE OF HAWAII,             )                 4                  ANDY J. MAO, ESQ.
 5           Plaintiff,   ) Case No.                5                  JUSTIN DRAYCOTT, ESQ.
 6       vs.            ) 06-1-0720-04 EEH          6                  U.S. Department of Justice
 7   ABBOTT LABORATORIES, INC., )                   7                  Civil Division
 8   et al.,            ) JUDGE EDEN                8                  P.O. Box 261, Ben Franklin Station
 9           Defendants. ) ELIZABETH HIFO           9                  Washington, D.C. 20044
10   ---------------                               10                  (202) 305-9300
11                                                         11          andy.mao@usdoj.gov
12         STATE OF WISCONSIN CIRCUIT COURT                12          justin.draycott@usdoj.gov
13               DANE COUNTY                               13
14   ----------------                                      14        On behalf of the U.S. Department of Health
15   STATE OF WISCONSIN,           )                       15            and Human Services:
16          Plaintiff,    )                                16          BRIAN A. KELLEY, ESQ.
17     vs.              ) CASE NO. 04-CV-1709              17          U.S. Department of Health & Human
18   AMGEN INC., et al.,      )                            18            Services
19          Defendants.     )                              19          Office of General Counsel, CMS Division
20   ----------------                                      20          330 Independence Avenue, S.W., Room 5345
21                                                         21          Washington, D.C. 20201
22                                                         22          (202) 205-8702
                                                                                             2 (Pages 2 to 5)
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                                             Page 30                                                   Page 32
 1   it. Not use the title, that is. We used the        1    income security policy in a staff capacity
 2   degree a lot, but not the title.                   2    initially and then served in this managerial
 3       Q. If I could turn your attention to the       3    capacity for a couple of years.
 4   second page of your resume, Mr. Gustafson. And am 4         Q. How did you come to obtain this position
 5   I getting the accent right? Is it Gustafson or     5    with the Department of Health and Human Services in
 6   Gustafson?                                         6    1976?
 7       A. I usually pronounce it Gustafson.           7        A. I was recruited actively by the office
 8       Q. So none of the above.                       8    that I later joined.
 9       A. Accent on the first syllable.               9        Q. Could you describe for me at a fairly
10       Q. I see you went to Williams College and     10    high level of generality what your responsibilities
11   studied economics; is that right?                 11    were as an economist at the Department of Human
12       A. That's correct.                            12    Services between 1976 and 1985?
13       Q. And then spent a short time at Harvard     13        A. I worked on a variety of income security
14   Divinity School?                                  14    programs, welfare and pension programs, pension to
15       A. Yes, sir.                                  15    include Social Security, dealing with both policy
16       Q. And then went on to Yale University and    16    and research issues in those areas. I helped with
17   obtained your Ph.D. in economics?                 17    the development of legislation, worked on
18       A. That's correct.                            18    simulation modeling to try to understand the impact
19       Q. What was your focus of study in            19    of various proposals, managed major research
20   economics both at Williams College and at Yale    20    programs, issues in that sort of broad spectrum.
21   University, sir?                                  21        Q. Did your work between 1976 and 1985
22       A. At Williams I was an economics major,      22    involve in any way payment for prescription drugs
                                             Page 31                                                   Page 33
 1   which was -- you know, didn't really have a focus   1   by government payors?
 2   of specialization within that major. I also did a   2           MR. MAO: Objection to form.
 3   fair amount of study in other social sciences and   3       A. Not that I can recall.
 4   tried to take advantage of the breadth of liberal   4       Q. When is the first time in your career
 5   arts disciplines available in such a school.        5   that your official duties had any bearing on the
 6           In graduate school I specialized in         6   payment of prescription drugs by government payors?
 7   several areas that would be classified under the    7       A. In 1985 when I joined the -- as you will
 8   rubric of applied microeconomics so that I sat for  8   note here on the resume, joined The Office of
 9   oral exams, which was how you sort of enunciated 9      Legislation and Policy of the Health Care Financing
10   your specialty, in labor economics and in          10   Administration.
11   industrial organization. I also studied public     11       Q. We'll come into that in a little more
12   finance a fair bit.                                12   detail later. But how was it that you made that
13       Q. After obtaining your degree -- and I'll     13   job change in 1985?
14   move backwards through your resume. That's the 14           A. It was the eight year inch. I had been
15   easiest way I think to do it -- you became a       15   with the office of income security policy during
16   director at the division of policy research office 16   some very busy times where we worked on President
17   of income security policy at the Department of     17   Carter's welfare reform plan and subsequently on
18   Health and Human Services; do I have that correct? 18   the major reform in Social Security policy that was
19       A. Actually, I think if you look at the        19   embodied in the Social Security amendments of 1972.
20   block of text immediately above that, that spans   20           After that time the issues were -- those
21   the period during which I had that acting director 21   particular set of issues, while not resolved, were
22   hat. I became an economist with the office of      22   at a lower ebb and I was becoming bored. I was

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 1   interested in some new challenges.                   1   dealt with Medicaid. However, during this period
 2           I was then recruited by a former             2   the agency was concerned about the payment rates
 3   colleague to join the HCFA, and I thought this       3   that states were using in paying for drugs,
 4   would be something interesting to try so I went off 4    prescription drugs, under the Medicaid program.
 5   and tried it.                                        5           So we were exploring issues surrounding
 6       Q. What were your responsibilities between       6   concepts such as estimated acquisition cost, trying
 7   1985 and 1988 as the director of the division of     7   to prod the states into more economical policies in
 8   Medicaid and long term care at the Office of Policy 8    terms of how they paid for drugs. Understand that
 9   Analysis, Office of Legislation and Policy?          9   in the Medicaid program the payment rate is
10       A. Actually, I think it was Office of           10   ultimately set by the state on most issues. And
11   Legislation and Policy. But I'm not sure. I would 11     the federal government picks up a portion of the
12   have to go back and look at some of the documents. 12    tab but in this area at that time had limited
13           During that period I was in charge of a     13   ability to control what states did.
14   small staff that worked on legislative policy for   14           I believe during this period we were
15   the agency. The Office of Legislation Policy of     15   advancing legislative proposals to Capitol Hill for
16   which we were one of the components was the         16   their consideration. And in that capacity I would
17   interface with Congress. The office as a whole did 17    have been discussing those proposals with members
18   a lot of work on testimony and congressional        18   of the authorizing committee staff, things of that
19   service issues of one sort or another, service or   19   sort. I have not gone back to look in detail. One
20   constituents related by congressional offices.      20   could conceivably find detail on this if one
21           Our responsibilities related to the         21   wanted. But that would have been the sort of thing
22   development of the president's legislative program 22    I would have been involved with.
                                             Page 35                                                   Page 37
 1   each year, usually embodied in the budget            1           I was responsible for any legislative
 2   submission that would go up to Congress in January   2   issues, legislative policy issues as distinct from
 3   or February, and then working with the members of    3   constituent service issues, that related to
 4   the authorizing committee staffs providing           4   Medicaid or as the title of the group suggests,
 5   technical assistance as they developed the           5   long term care policy and Medicare. So it did
 6   legislation that would actually pass, which might    6   intrude into Medicare to some degree. But anything
 7   or might not embody elements of the president's      7   that was going on in Medicaid I presumably had
 8   program, but which the agency would eventually have 8    cognizance of -- I'd like to think I had cognizance
 9   to administer.                                       9   of.
10            Sorts of legislation I'm speaking of       10       Q. Where would one go to find the details
11   here are largely reconciliation bills such as the   11   that you mentioned about what the legislative
12   Consolidated Omnibus Budget Reconciliation Act of 12     proposals and policies were during this time period
13   1985 and there are a series that followed during    13   relating to Medicaid payment for prescription
14   the next decade.                                    14   drugs?
15       Q. During this time period did your             15       A. Well, in terms of the -- of what the
16   responsibilities ever in any way touch on           16   president's program might have included, this would
17   reimbursement for drugs?                            17   have been contained in the president's budget, fat
18       A. Yes, they did.                               18   books that come out at the time the budget is sent
19       Q. In what way?                                 19   up to Congress. Those were not always completely
20       A. You'll have to understand that my memory     20   detailed in terms of exactly what the
21   is a little hazy of this period being some time     21   administration was proposing so that there were
22   ago. And my more recent responsibilities have not   22   sort of two sources of additional information that
                                                                                  10 (Pages 34 to 37)
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 1   one could refer to.                                  1   was then called the assistant secretary for
 2           The first is what were referred to as        2   management and budget -- similarly maintained a
 3   the budget press releases. Each year the office of   3   file of past information they had sent to the Hill.
 4   what was then the assistant secretary for            4           These were public documents, so they
 5   management and budget -- it has changed names        5   should be readily available.
 6   several times now, but the budget office at the      6       Q. Is the Office of Legislation still
 7   Office of the Secretary level would prepare a        7   physically located in the same place as it was when
 8   150-page document that would go up to Capitol Hill 8     you last worked there?
 9   and anybody else who was interested, given to        9       A. Yes.
10   reporters, that sort of thing, that would explain   10       Q. And how long ago was that that you
11   usually in some detail, not necessarily perfect     11   worked at the Office of Legislation?
12   detail, what was -- what the president was in fact  12       A. I believe I left there in 1996. Yes.
13   proposing. And it must be in departmental files.    13       Q. Assuming that the files are in the same
14           In some years but not all years we would    14   location as they were in 1996, which may be a big
15   articulate those policies further in draft          15   assumption, where physically would I find the files
16   legislation we would submit to Capitol Hill so that 16   this you've described in the Office of Legislation?
17   there would have been a series of bills             17       A. I really don't remember. And it could
18   representing the administration's budget on the     18   well have been that I pitched them at the time I
19   Medicare and Medicaid area that we would draft      19   was leaving the job as the deputy director there.
20   working with the legislation division of the office 20   But you could confer with the staff there and if
21   of general counsel and send to Capitol Hill.        21   they have them I'm sure they would be prepared to
22           Legislation people would seek a sponsor     22   deliver them.
                                             Page 39                                                    Page 41
 1   to introduce that legislation and that sort of       1       Q. Is there a particular staff person who
 2   thing. So there would be some treatment of those     2   is responsible for or is most likely to know the
 3   proposals in those bills. But as I said, we didn't   3   location of these types of documents?
 4   do them every year. The interest of congressional    4          MR. MAO: Objection, form.
 5   staff in seeing those drafts was somewhat limited.   5       A. The person that you might consult would
 6           The other direction one might look would     6   be Don Johnson, who is now doing the job I used to
 7   be in the records of the various committees, so      7   do. So he is now the deputy director. And I don't
 8   that insofar as the committees took up these issues  8   know if he would know, but he would know how to
 9   they would be bringing them forth in markup and      9   find out. Just as one additional footnote on that,
10   obviously -- I'm sure I don't need to tell you.     10   I believe that the more likely possibility for the
11   You look at the committee reports of the            11   maintaining of a file of these documents would be
12   legislation that was developed in the various       12   in the budget office I spoke of earlier, because
13   committees as it moved through the process.         13   they were the people who produced those documents
14       Q. In your experience would CMS maintain        14   and would keep them from year to year.
15   copies of any of the documents that you've          15       Q. That would be the budget office within
16   described from this time period?                    16   CMS?
17       A. When I was in the Office of Legislation      17       A. Within the Office of the Secretary. Not
18   I always made sure we had a file someplace that had 18   the HCFA budget office but the Office of the
19   those back issues. We'd sometimes need to go back 19     Secretary budget office.
20   and refer to what was in the press release two      20          MR. COOK: Counsel, we would ask that
21   years ago and that sort of thing. And I am fairly   21   you make that search in perhaps 48 hours of
22   confident that the office of the -- as I said, it   22   Mr. Gustafson's second day of deposition.
                                                                                  11 (Pages 38 to 41)
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 1           MR. MAO: We'll look into it.                 1    duties and sorts of functions that were described
 2           MR. COOK: These are documents we have        2    earlier, that I described earlier.
 3   asked for for quite a while and we're going to need  3       Q. In this position did your job
 4   to get those.                                        4    responsibilities touch in any way on reimbursement
 5           MR. MAO: And to the extent they're           5    for prescription drugs?
 6   public documents --                                  6       A. Insofar as that was on the table, yes.
 7           MR. COOK: I can represent to you that        7       Q. Do you recall whether it was on the
 8   we have not been able to find budgets that went up   8    table?
 9   to the Hill at the Library of Congress or elsewhere  9       A. I don't recall specifically details of
10   as recently as 1996 and 1995. So you may have the 10      that.
11   only copies that would be available.                11       Q. How did your job responsibilities change
12           MR. MAO: We'll look into it.                12    in 1991, three years later?
13           BY MR. COOK:                                13       A. Only minorly. There was a
14       Q. In 1988 when you left your position          14    reorganization of the office that created a deputy
15   as -- well, let me just ask you. What happened      15    position, deputy to the director of the office
16   with your job position in 1988?                     16    being The Office of Legislation and Policy. And I
17       A. In 1988 there was some shuffling around      17    was put in that job. So I maintained very much the
18   at the levels above me and I was asked to become    18    same functions. I had a broader responsibility in
19   the acting director of the Office of Policy and     19    terms of organizational administrative functions
20   Analysis, which is the component within The Office 20     for keeping track of hiring and staff and space and
21   of Legislation and Policy that my division was part 21    things of that sort for the Office of Legislation
22   of. So there were two divisions within that office  22    Policy as a whole.
                                                Page 43                                                  Page 45
 1   reporting to a single person. That person in turn     1           Later in my tenure there I fell into a
 2   reported to the director of the Office of             2   much larger responsibility than I had previously
 3   Legislation and Policy.                               3   for the development of testimony and so I worked on
 4           The guy who was in that middle job went       4   presentation issues to a greater extent.
 5   off to another job on an acting basis and so I was    5       Q. When did you fall into that
 6   asked to fill in. It turned out that I filled in      6   responsibility?
 7   for quite a long while.                               7       A. During the last two years that I was
 8      Q. How long was that?                              8   there. I don't really remember detail. It wasn't
 9      A. I think it was about three years.               9   a -- there was no sort of organizational shift or
10      Q. What were your job responsibilities            10   landmark accompanying that. It was just those guys
11   during that last three years?                        11   started needing more help and I started to give it.
12      A. It was very much the same as it had been       12       Q. In about which years were those?
13   but with a broader scope of subject area so that     13       A. That would have been '93, '94, '95.
14   the -- I took over -- I retained responsibility at   14       Q. When did you leave this position as
15   the supervisory level for the division that I had    15   deputy to the director of the Office of Legislation
16   previously been in charge of and all the issues      16   and Policy?
17   that I was concerned with, and took over as well     17       A. It was 1996, I believe in May of that
18   responsibility for the coordinate division that      18   year. Sometime in that summer.
19   dealt with Medicare policy.                          19       Q. Do you recall whether between 1991 and
20      Q. So you were responsible not just for the       20   1996 your work related in any way to payment for
21   Medicaid side but also for the Medicare side?        21   prescription drugs?
22      A. Correct. But with the same sorts of            22       A. I do not. I can only assert that in
                                                                                   12 (Pages 42 to 45)
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 1   general terms insofar as they were legislative       1   Ambulatory Policy Group which is what it is called
 2   proposals and so forth being dealt with or that      2   today. And you will probably see that -- you may
 3   Congress was dealing with, I do not believe that     3   see both of those names in documents at different
 4   was an active time, at least in the Medicare         4   times.
 5   program, for that issue in the legislative sphere,   5           This was an office in what was then
 6   which is perhaps why I don't have much memory of 6       called the Center for Health Plans and Providers,
 7   it.                                                  7   otherwise known as CHPP. And it was concerned with
 8          But in general had something been going       8   the development and articulation of payment policy,
 9   on I would have been involved with it. But I         9   primarily, for the acute care side of the Medicare
10   honestly don't recall what if anything was going    10   fee for service program.
11   on.                                                 11           So there were two offices within the
12       Q. Do you recall whether there were any         12   center that dealt with this sphere of policy. One
13   proposals during that time period to move away from 13   dealt with basically the acute benefits, the other
14   an average wholesale price-based reimbursement      14   with the chronic benefits. So on the chronic side
15   system and towards an actual acquisition cost-based 15   it would be durable medical equipment, end stage
16   system?                                             16   renal disease, home health, skilled nursing
17       A. I do not.                                    17   facility and a couple of others.
18          MR. MAO: Objection, form.                    18           The group I was in charge of dealt with
19       Q. How did your job responsibilities change     19   payment for hospitals, physicians, ambulance,
20   in May of 1996?                                     20   outpatient clinical laboratories and prescription
21       A. Excuse me?                                   21   drugs insofar as they were delivered incident to a
22       Q. In May of 1996 how did your job              22   physician's services.
                                             Page 47                                                    Page 49
 1   responsibilities change?                             1      Q. I forgot to ask, but between 1996 and
 2       A. It was a very substantial departure from      2   1998 when you were with the office of research and
 3   my previous job. I moved to sort of laterally to     3   demonstrations -- if I have that correct -- did
 4   become the deputy director of the Office of          4   your job responsibilities relate in any way to the
 5   Research and Demonstrations, as it was then called.  5   payment for prescription drugs?
 6   This was a research component. It as the name        6      A. Not that I recall. It was not a
 7   suggests did research, ran research projects,        7   significant issue as I recall. But before that
 8   conducted demonstration projects. And it was in      8   office and not one that I recall working on. I
 9   Baltimore as opposed to Washington. It took me       9   can't say there wasn't some research going on. But
10   very much out of the sphere of legislation and out  10   we had many, many research projects and I was at a
11   of policy development generally.                    11   supervisory level.
12       Q. How long did you hold that position?         12      Q. How long did you hold the position as
13       A. It was about two years. Until October        13   acting director of Hospital and Ambulatory Policy
14   of '98, I believe.                                  14   Group?
15       Q. How did your job responsibilities change     15      A. I was confirmed as director about six
16   in October of 1998?                                 16   months later as a permanent position and I held
17       A. Another significant shift. I moved at        17   that until -- I believe it was May of 2003 when I
18   that time to become the -- at the time the acting   18   was promoted -- moved upstairs -- to become the
19   director of what was then called the -- are you     19   deputy director of the center, which by then had
20   ready for this? -- Plan and Provider Purchasing     20   changed focus somewhat and had been renamed the
21   Policy Group, which was way too long a name so we 21     Center for Medicare Management.
22   changed it after a while to the Hospital and        22           That remained my job of record until the
                                                                                  13 (Pages 46 to 49)
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